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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA


  MORIAH AHARON;
  JORDAN G. KUPPINGER, M.D.;
  DAMON J. DETESO, M.D.;
  ROSANNA CARUSO;
  CHRISTOPHER PAYTON;                             CASE NO. 9:20-cv-80604-RKA
  LEE ANGIOLETTI;                                 CLASS ACTION
  MARIANGELLA MANNING;                            JURY TRIAL DEMANDED
  LYNNORA VASQUEZ; and
  REBECCA MADDEN, each on
  behalf of themselves, and all those
  similarly situated,

  Plaintiffs,

  v.

  CHINESE COMMUNIST PARTY;
  PEOPLE’S REPUBLIC OF CHINA; and
  PETROCHINA INTERNATIONAL
  (AMERICA), INC.


  Defendants.
  _______________________________/

                                     STATUS REPORT

          Pursuant to the Court’s July 6, 2020 Order, [DE 18], Plaintiffs hereby file their

  August 3, 2020 status report:

          Proposed summonses were filed on July 13, 2020, [DE 22], and the clerk issued

  the summonses on July 21, 2020. [DE’s 24–25]. The Clerk’s office required some extra

  time because of the pandemic, and also because of the differences in the Hague

  Convention summons details. [See DE’s 26–28].
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        The U.S. based Defendant. PetroChina International (America), Inc., was served

  July 31, 2020, with the Amended Complaint and the Court’s Order on the timing and

  coordination of Defendants’ responses to the Amended Complaint. [DE 17].

        The summonses for the other two Defendants, DE 17, and the Amended

  Complaint are currently being translated into Official Chinese, which will be completed

  shortly. Once the translations are finished, the service vendor will coordinate Federal

  Express delivery to the Hague Convention compliance office in Beijing, China.

        Plaintiff’s next status report will be filed on September 2, 2020.

        Respectfully submitted this 3rd day of August, 2020.


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